Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 1 of 16




                     EXHIBIT B


     Complaint to Trans Union,                  LLC
                                                                                     Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 2 of 16




                                                                                         IN          THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                                                  UU
    ‘

                ·
                                    *·"`“                                                                                                                                                                                                          "|
                                                                                                                           ·
                                                                                                                                                                                           mscmvao
                                                                   JAQII7                                                                                                                       (jicyggs
                                                                                    7·

                                                                                                                                                                                       >JAN 0 2 2014                                                                             ()   0 0 0 3 2
                                                                                         Plamum                                                                                                                                                                      U U

                                                                                                                                                                                   ggperior Court ofthe
                                                                                                                                                                                                                                                                         U



                                                                       v.                                                                        _
                                                                                                                                                                                                                                                            NO.
                                                                                                                                                                                                        "

                                                                       TRANS UNION LLC.                                                                                                )
                                                                                                                                                                                                            ‘."           .




                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                          ° ..-         ·
                                                                                                                                                                                                                                                            DEMANDED
                                                                                                                                                                                                                                                             ‘                   ‘‘'`U                 _           _




                                                                                                                                                                                                                                                                                               `

                                                                       1013 CENTRE ROAD.
                                                                                                                                                                                                    ‘
                                                                                                                                                      -
                                                                                                                                                                                       )    .




                                                 _,_
                                                     U
                                                              _
                                                                       WILMINGTON, DE 19805                                        L_
                                                                                                                                            _»                    .
                                                                                                                                                                                       )    _
                                                                                                                                                                                                    ·
                                                                                                                                                                                                                  _   _
                                                                                                                                                                                                                                              _                              _
                                                                                                                                                                                                                                                                                           -


                                         `




_
                                                                       Serve: CSC LAWYERS INCORPORATING                                                                            )
                        _

                    ·
                        _       _                                      SERV1CE.C.O1\{IPANY....                                     .,...,.                .   .       .           .:.).     .. ..-_..,        s.                                  ..;                                 .|       .           .

                                                                                                                                                                                                                              `       '


                                                                       7SAINT PAUL STREET SUITE 1660                                                                                   )        _

                                                                                                                                                                                                                  U
                                                                                                                                                                                                                                          _




                            .                                          BALTIMORE, MD 21202                                                                                             )            .



                                                                                             '                        '                                                                                                       '
                                                                                                                                                                                                                                                                     I                     `
                                                                                         '           '
                                     °                   ·`                     .                             ,                .                                              ·
                                                                                                                                                                                                    :
                                                 _                                                                                      _




                                                                            `

        -
                                                                                         Defendant.                                                                                .
                                                                                                                                                                                       )
                                                                                                                                                                                                                                                                                                                           ·




                                                                                                                                                                                                                                                                 U                                                     U
                                                                                                         U'
                                                                                                                                                                                                                              ·

                                                                                                                  .
                                                                                                                                                              COMPLAINT


            U




                                         _
                                                                                             COMES NOW the "Plaintifi", Jah Jah Bey (hereafter the “Plaintift"), and for his

                                                                       complaint against the Defendant TRANS                                                                      UNION LLC. ("Trans Union"), alleges as

                                                                       follows: -~~                                                                                       g

                                                                                                                                                                                                                                                                                                   U




                                                                                _
                                                                                                                                                     Preliminag Statement




                                             .                                                           l.   This`is     an action for actual damages, statutory damages, and punitive
                                                                                                                                                                                                                                                                                                               U




                                                                                                              damages, costs and attomey’s fees brought pursuant to 15 U.S.C. §168l
                                                                                                                                                                                                                                                    U




                                                                                                 _   _
                                                                                                              (Fair Credit Reporting Act or                                                FCRA).
                        Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 3 of 16




                                             I


                                                                                                                   E

                                                  ·
                                                               .        JURISDICTION & VENUE                               _
                                                                                                                                                     ‘




                                2.       The jurisdiction ofthis Court                    is   conferred by 15 U.S.C. §l68lp and 28


        .                                U.S.C. §l 33 l Venue in this Court is proper in that "Trans Union"
                                                                   ._




                        ‘
                                         transacts business here                  andthe conduct complained of occurred here.


                                                                                                                                             i




                                         i

                                                                         -
                                                                                   PARTIES
                                                                              U




                                                                                                                                                                                 l




            .                   3.           "Plaintiff" Jah Jah              Eey is a   natural person and resides in the District of


                                             Colombia. He               is   a "consumer" as defined    by the FCRA, 15 U.S.C.                               _




                ‘
                    l                                                                                                                                            °
    _
                                             §l68la(c).                              _




                            ·
                                    4.       Upon information and belief] "Trans Union", is a corporation authorized
                                                                                                                                                                     U




                                             to       do business in the District of Colombia.
g




                                                                                                                                                                         ’



                                    5.       Upon information and belief] "Trans Union"V is a "consumer reporting                                                            .




                                                                                                              U




                                .            agency," as defined in 15 U.S.C. §l68la(f).


                                    6.       Upon infomation and belief, "Trans Union" is regularly engaged in the

                                                 business of assembling, evaluating, and disbursing information concerning
                                                                                                                                                         l




                                                 consumers     for the purpose of fumishing             consumer reports, as defined in


                                                 15 U.S.C. §l68la(d), to third parties.                                                          .




                                                                                                                                                                 ‘


                                    7.           Upon information and belief, "Trans Union" disburses such consumer
                                                                                                                                  i
                                                                                                                                         i




                                     ·
                                                 reports to third parties under contract for monetary compensation.
                                        Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 4 of 16




            A                                                                                                                                   A
                                                        n
                                                                           a




                                    _
                                                                                 GENERAL FACTUAL ALLEGA'I;IONS

                                                                                                                                                                                                    _




                                                —
                                                            8.        On· August       1,   2009   "Plaintiff" Jah   Jah Bey executed a month to month                                  _

                                                                                                                                                                                    l




                                                                      `lease   agreement (hereafter "the agreement") with Chelsea West
                        i
                                                    i



                                                                  .    Apartments to reside at 4301 West Village Dr. #2019                      Camp Springs, MD
                                                                                                                                                                                                            n




                                            `
                                                                                               ‘
                                                                       20746.     ·

                                                                                                               ·




                                                ·           9.         "P1aintiff" never missed a         payment during the time he resided at 4301

                                                                       West Village Dr. #2019 Camp             Springs,     MD 20746.
                                                                10. "P1aintiff’ never          made a late payment during the time he                           resided at 4301
                                                                                                                                                                        _




                                                                                                                              MD 20746.
        l




                                                                       West Village Dr. #2019 Camp                 Springs,                                                                                             U




    I
                                                                                                                                                                                                i



                    ·                                           1 1.   "P1aintiff" never breached "the agreement".


                                                                12. "P1aintiff"        stopped residing at 4301 West Village Dr. #2019                             Camp

                                                                       Springs,       MD 20746 on November 31, 2009.                _




                                                                13.     According to "the agreement", "P1aintiff’ gave Chelsea West Apartments
                                                                                                                                                            i                                                   I



                                                                        adequate and proper notice of his early departure'.


                                                                 14.    On or about January 2012, Mr. Bey became aware that "Trar1s Union" had
                            l




                                        .                              been reporting a derogatory outstanding debt of $5,579.00                                  furnished by
                V




                                                                        Fair Collections       & Outsourcing (hereafter "the account") on his person-
                                                                                                                                        `



                                                                        credit tiles.
_




                                                                 15. "'l`he     account" reporting was false and incorrect;


                                                                 16.    On May 8, 2012 Mr.· Bey forwarded to "Trans Union" a letter (hereafter

                                                                        "letterl") certified mail receipt number              701101 10000154518247 disputing
                                                                                                                                                                            i
                                                                                                                                                                                n

                                h




                                                                        the "the account”.                                                                                                                          _



                                                                                                                                                                    i


                                                                                                                                                                                        `
                                                                                                                                                    ‘
                                                                                                                                                                                                                            ·
                                                            ‘                                                           -
                                                                                                                                                                                            ·

                                                                see exmsna. manners so day notice nam.
            U
                                                                                                                                                                                                        I




                                                                                                                                            `
                                                                                                                                ·

                                                                                                               3                                        -
                                                        Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 5 of 16




                I
                                        W

                                                    ~
                                                                17. “l.etter1" included                a detailed description of the nature of Mr. 'Bey’s
                                                                                                                               l
    n                                                                                                                                      I
                                                                                                                                                               "
                                                                                  i
                                    `

                        .                                             dispute.




                                                                                                                                                                                               i




                                                                            rans Union" did not respond to Mr. Bey’s dispute "letterl"
                                                                      "'l`                                                                                             .
                                                                18.                                                                                                                _




                                                                19.    "Trans Union" continued to report "the account" after May 2012.
                                                                                                                                                                                                                       n




’

                                                                20.    On    January 2013, Mr. Bey obtained an up to date copy of his credit report


                                A
                                            ·
                                                                       from "Trans Union"               .                  _
                                                                                                                                                                           ,




                                                                                                                                       "'l`
                                                                                                                                               rans Union" had             been        -


                                                                21.       On January 2013, Mr. Bey noticed that                                                    still

                                                                                                                                                                                                                   V
                                                                                                                                                                           _
                                                                                                                                                                                                       i


                                                                                                                                       ·

                                                                          reporting "the account"             .                    _
                                                                                                                                                       ~




            i


                                                                 22.      "The account"        reporting          was false and incorrect.                                                 p


        _




                                                l




                                                                                            2013 Mr. Bey forwarded another dispute letter (hereafter
                                                                                                                                                                                                                           ·



                                                                    23.   On May      14,                                                                                                          _




                                                                                                                                                                                                           ·

                                                                          "1etter2") to
                                                                                            "'I`
                                                                                               rans         Union" certified mail receipt number

                                                                                                                                                                   ‘


                                                                ·
                                                                          7012l0l0O00364006739 disputing the "the account".


                            I




                                                                    24.    On or about May 24, 2013 "Trans Union" responded to "letter2" by
                    V




                                                                           explaining the requirements and non—requirements of the Fair Credit


                                                                           Reporting Act (FCRA).
                                                                                                                       ·
                                                                                                                                                                                           _




                                                                    25.    On or about May 24, 2013 "Trans Union" responded to "letter2" by
                                                            n




                                                                           explaining a national consumer reporting agency’s role in a
                                                                                                                                       dispute
                                                                                                                                                                                                       l


                                                        I                                          V                                                                                                           "




                                                                           process.                                                                        _
                                                                                                                                                                               l
                                                        Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 6 of 16




                                                        i


                                                                    26.       On or about June          l 1,   2013 "Trans Union" responded to Mr. Bey’s dispute
                                                    i



                                        `

                                                                                             by verifying “the account"
                                i

                            ·
                                                                              "letter2"                                         .




                                                                        27.   On September 2013, Mr. Bey obtained an up to                              date copy of his credit
                                                                _                                                                                                                                                                          i
                                                                                                                                                                                     l




                                                                                       from "Trans Union".
                                                                                                                                    ·


                                                                              report
                                            _




r
                                                                        28.    On October        15,   2013, Mr. Bey forwarded a detailed dispute to "Trans                                       _           _




                    .
                                                                               Union"’       (certified   mail receipt number 7012101 O000364074486) that
                                                                                                                                                                                                  i
                                                                                                                                                                                                                  I




                                                                               contained new information" of why "the account" was being reported
                                                                                                                                                                                                                                               -
                                                            °

                                                                                                                                                                                                          p



                                                                                                                                                                     V
                                                                                                                                        i




                                                        _
                                                                               incorrectly (hereafter "lette1·3").                                                                                                                     V




                                                                                                                                                                                                                      ‘




                                                                         29.   On or about.N0vember 2013, “Trans Union" responded to                                 Mr. Bey’s


                                                                                                        by verifying ‘lthe account"
                                                                                                                                                                         ·


                                                                               dispute ‘fletter3“                                               .
                                                                                                                                                                 A
                                                                                                                                                                                                                          A




    p


                l
                                                                                                                                                                                              -
                                                                                                                            account" was being reported incorrectly and
            A


                                                                         30.   "Trans Union" knew               th<;"‘the                                                                                                          ·




                                    '

                                                                               willfully violated         Mr. Bey’s rights under the                FCRA by refusing to correct
                                                                                                                                                             i
                                                                                                                                                                                                      ‘


        ‘

                                                                                or delete the account.                      p


                                                                                                                                                                                                      v                                            V




                                                                'COUNT ONE: VIOLATION OF FAIR CREDIT REPORTING ACT
                                                                                                                                            i


                                                                                                                15 U.S.C. §1681i                    .




                                                                    i




                                                                                                                                                             through 30 above as         if
                                                                          31. Plaintiff realleges and incorporates paragraphs
                                                                                                                                                         l

                                                                                                                                                                                 I




                                                '


                                                                                fully set out herein.
                    i




                                                                           32. “Trans         Union" violated 15 U.S.C. §168li(a)(l) by willfullyor negligently
                        i




                                                                                 failing to     conduct a reasonable investigation of Plaintiffs dispute


                                                                                 "letter3".

                                                                                                                                                                                                                          ·‘
                                                                    ·’
                                                                         see exmuu rs.                                                                                                                                         '


                                                                        " sw mast: 0.    _                            _
                                                                                                                                                                             _
                                                                Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 7 of 16




                            {




                                                                            33. "Trans           Union" violated 15 U.S.C. §l681i(a)(l) by                 willfully or negligently                                    _




                                                                                                                                                                                           i

                                                        °

                                ·                                                  failing to      conduct a reasonable investigation within thirty (30) days of

                                                                                                                          ·’
                ·
                                                                                   Plaintiffs dispute "letter3’                .
                                                                                                                                                       _




                                    _
                                                                            34. "Trans           Union" violated 15 U.S.C. §l681i(a)(2) by                  willfully or negligently


        ·                                           ·
                                                                                   failing to provide Fair Collections                   & Outsourcing with all the relevant
                                                                                                                                                                                                                               U

                                                                                                                                                                                               `
                                                                                                                                                                                                                   ‘


                                                                                   information supporting Plaintiffs dispute "letter3".
                                                            p
                                                                                   "'I`
                                                                            35.        rans      Union" violated 15 U.S.C. §1681i(a)(4) by                  willfully or negligently

                                                                                                                                                                                                                           `
                                                                                   failing to review and consider all the information provided in Plaintiffs
                                                                                                                                                                                       U



                                                        I                                                                                                                                                  i



                                                                                                                                                              `

                                                                                   dispute "letter3".                                                                              .


                                        I




                                                                                   “'l`
    ·                   ·
                                                                            36.·          rans   Union" violated 15 U.S.C. §l68l(a)(5)(A) by                       willfully or.
                                                                                                                                                                                                                           V




                                                                        _          negligently failing to promptly delete the disputed inaccurate item of

                                                                    i


                                                                                   information from Plaintiffs credit file or modify the item of infonnation
                                                                                                                                               i



                                                                                                                                          i




                                                                                   upon an accurate reinvestigation.
                                                                                                                                                                                       C

                                                                            37.    As a result of conduct, actions and inactions of "Trans Union", the
                        Q                                                                                                                                                                              I




                                                                                    Plaintiff suffered actual            damages including without limitation, by example
                                                                A




p
                                                                                    only and as described herein by                     Plaintiff: credit repair costs, inability to

                                                                                                                                                                                                   U


                                                                                    obtain a mortgage loan’, loss of credit opportunity, damage to reputation,


                                                                                    embarrassment, humiliation and other emotional and mental distress.

                                                i


                                _
                                                                             38. "Trans Union"’s conduct, actions and inactions were willful, rendering

            i
                                            `

                                                                                    "Trans. Union" liable for punitive damages in an                       amount to be determined                         V




                                                                                                                                                                                                               ‘



                A
                                                                                    by the Court pursuant to 15 U.S.C. §1681n. In the                       alternative, "Trans
                                    .




                    `                                                                                                                                                                                                              ‘


                                                                                    Union? was negligent,               entitling the Plaintiff to recover           under 15 U.S.C.       .




                                                                                    §1681o.                                                                            .




                                                                                                                                                               "


                                                                                   Exhibit c. Denial   team ams Mortgagee Lauer Hun 4155.1 4.c.2.g


                                                                                                                                                   ·
                                                                                                                                   .6                                       _
                                 Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 8 of 16




                                         39. The`Plaintiff is entitled to recover actual damages, statutory damages,                      .




    t                                                                                                                                 W

                        '
            -
                                              costs and attomeys’ fees from “Trans Union" in an            amount to be

                `

                                              determined by the Court pursuant to 15 U.S.C. §1681n and §168lo.




                                   WHEREFORE, your Plaintiff demands judgment for actual, statutory and
                                                                                                                                  "

                            punitive   damages against "Trans Union"; for      his attorneysi fees        and       costs; for

                        '


                            prejudgment and post-judgment interest at the legal      rate,   and such other               relief as the

                                                                                                      i



                            Court deems just, equitable and proper.
                                                                                                                                                      U




·                   ·
                            TRIAL BY JURY IS DEMANDED.

                                                           "



                                                                                      JAH
                                          .


                                                                                      By     JAH|
                                                                                              .                                                   .




                            JAH JAH BEY              »

                                                                                                                _
                                                                                                                              -


                                                                                                                                              `



                            4274 East Capital Street #201                  -
                                                                                                                      _




                            Northeast Washington D.C.‘
                                                                 ‘


                            jahjahbey@yahoo.com                                                   _

                                                                                        ·
        .
                            (202) 500-1331                                                        _




                                                                               7
                                                                  Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 9 of 16




                                        `                                                                                                                                                                                                            I

·

                                                                          IN    THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                        I
                                                                                                                                                                                                             i




                                                JAH JAH BEY                                                                     )                                                                  _
                                                                                                                                                                                   .


                                                                                                                                )
                        ‘

                                                                                                                                 )
                                                                          Plaintiff,                                            )
                                                                                     `
                                                                                                                                                                                                                                                         '
                                                                                                                                                                   1

                                                .
                                                                                                                                 I
                                                    v.                                                                           )                       CIVIL ACTION NO.                                                                                                        ·



                                -

                                                                                                                                 )                       JURY TRIAL DEMANDED
                                                                                                                                                                       '


                                            _
                                                    TRANS UNION LLC.                                                                )
                                                    1013 CENTRE ROAD
    ‘


                                                                                                                                )
                                                    WILMINGTON, DE 19805                                                         )
                                                    Serve:            CSC LAWYERS INCORPORATING                                 )                I
                                                                                                                                                                                                                                         ·




                                                    SERVICE COMPANY.                                                             )                                                                               _



                                                    7 SAINT PAUL STREET SUITE 1660                                               )
                                                    BALTIMORE, MD 21202                                                          )                                         _
                                                                                                                                                                               '

                                                                                 .                                                           .       .
                                                                                                                    ,
                                                                                                                                 )

                                                                                                                                 )
                                                                          Defendant.                                             )



                                                                                           VERIFICATION OF COMPLAINT AEFIDAVIT

                                                    BEFORE ME personally appeared Jah Jah Bey who, being by me first duly
                                                    sworn and identified                            in accordance with all applicable Law, deposes                                                                   and
            .
                        _                           S8.ySZ
        w



                    I                                                                                                                                                                                                                                                E




                                                         _       1.       My name is Jah Jah Bey, Plaintiff herein.                                                                        ·
                                                                                                                                                                                                                                     .




                                                                 2.        Ihave read and understood the attached foregoing Complaint filed                                                                                      -




                                                                           herein, and each fact alleged therein is true and correct of my own
                                                                                                                                                                                                                                                                 -

                            _

                                                                                                                                                                                                                                                                                     ‘

                ·                   ·   »
                                                                           personal knowledge.                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                         —




                                                                                                                                                                                                                                                                                         A
                                                                                                                                                                                                                 l




                                                     FURTHER THE AFFIANT SAYETH NAUGHT                                                                                                                                                                           _




                                                                                                                _       _
                                                                                                                                                                                           J           Jah           ,
                                                                                                                                                                                                                         Affiant
                                                                                                                                                                                       V




                                                                                                                                                                                                                                                 I



                ·
                                                     SWORN TO and- subscribed before me this                                                                 3rd
                                                                                                                                                                   day of January 2014.


                    p
                                                                                                                            0 //°_gl H;.                                                                                                                                     .
                                                                                                                                                                                                                                                                                             I




                                                                      I
                                                                               ADRIAN H K RENEE
                                                                                    Notary Public
                                ·
                                                                               Prince Georgds County        _
                                                                                                                                                                                                                                                                         ‘




                                                                                         Maryland                                                                      .                                             I
                                                                                                                                                                                                                                             ·



                                                                                                                                                                                                                             `



                                                                 My-Commission Expires Jan,           18. 21316




                                                                                                        I                                                I
                                                                                                                                                                                               I

                                                                                                                                                                           ·
                                                                                                                                        ‘1
                                                                                                                                                                                                                                                                                                 .-.=
                                                             _
                                                            Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 10 of 16




                                                                                                                                                                I
                                                                                                                                                                                                                                                             i

                                                                         ‘                                                       ‘
                                                                                                                                     ·
                                                                                                                                         I


                                                                                                                                                                         _
                                                                                                                                                                                 >
                                                                                                                                                                                 I
                                                                                                                                                                                                                  §:—     if       .·-`                                                                   .   :
                                                                                                                                                                                                                                                                                                              .

                                                                                                                  ·                                                                                                                                                           _


                                                September 21, 2009                                                                                          wml                                                   all-_E


                                            ‘                                                             ~   ·
                                                                                                                                                                                         r
                                                                                                                                                                                                                                   ;i
                                                Jahi   smith                                                                                                                                        '*            l.}II   1'T‘                  I   .1

                            ·
                                ·




                                                4301 _WestVillage Dr. Apt_#‘2019
                                                                                           ·
                                                                                                                                                                                                ·
                                                                                                                                                                                                                                   >
                                                                                                                                                                     `

                                                                                                                                                                                                     ‘
                                                                                                                                                                                                                  `*|              Q            g
                ·


                                                stuuima,      Ma 20746                                .
                                                                                                                                                                                                             té
                                                                                                                                                                                                             ":                    (D           z.,          ‘l




                                                              advised                                                                                  to vacate                     my apartment (2019) as of November 3l,
                                                       .     ereasons
                                                                               'n‘"_
                                                                                           toieaveareu o ows:

                                                       A) Based onmyannual ineoingil doing;                                                                me being.able_ to afford my monthly lease in a
                                                                                       I‘work;at the ;T;iati0na.l;Ch11_dren’s Qentcr driving trucks and                                  in my two years here                                                         I
                                                             timely manner.                                                                                                                                                                                  andmy
g
                                                            `hav seen at least.50           of                myxzowvorkers-be|   Collectively I have nqjob security
                                                                       environment ia V _ry;tgenu0ua.
                                                                   `



                                                              _ol-it                                                                          __
                                                                                                                              renetged on their contract to
                                                       B) glack Diarn0nd;EntertEinrpent`(1ny·|
    Q



                                                                                                                                                                                                                                                                  ·

                                                                                                                                    at was eontraetuall
                                                                                                                                                                                                                                                                                      -
    {
                                                                                     me ah·exce§sjQ =$20;00QZ 4_2·Tliis·is money
                                                          myself arxdjitifadtroviieg
                                                                                                                                         affected my tgiancial
                                                                                                                                                                                                                                                                                  -
                                                .


                                                                                       t·cta¤a¤n,t¤·                  me thathas                                     This"situati0n·h§s greatly
                                                             pr0trr}ised=to;be
    [
                                                                                                                                                                                     _
                                                             sta
    *                                                              i   ity,                -_


                                                                   history ·hel·e_(_@ Ch¤l$¢§·w0$t)g8Sinqellji§;·triy5 previous
                                                                                                                                                   _        _

                                                                                                                                                                                             residencds (4305 t#l05                           & 4311 C#30l                                        ‘

                                                       C)    My                                                                                         a payment in the     two
                                                                                                                                                                                                                                                                                                      »



                                                                                                ¤W¤
                                                                                       j
                                                                                 order §0Tcorg1                                 i‘ni.ie°|Tand`maintain my good creditl have made the
                    t                                                     uae in                                           -·
                                                                                                                                                                             ‘


                                                              ecisiontao no onger resi e_at·_   _e
                                                                                                                                                                                                         _                                               `
.
                                                             M"'                                                                                                                                                              Sh   still      has             s °"d                           »



                                                                          th r who is 87`
                                                                                                                                                                                                                                                                          .

                                                       D)                     dm                 old2iiecent1y,had;cewical.spir1al.‘4urg                                                                                  .

                                                                                                                                                                                                              !*¤$l=yb°s=¤$¤¤¤!vZ¤<li1IT
        I
                    ·
                        4

                                                                                       F<=e·<.¤¤<2>1¤¤|.¤¢¤¤)§¤¤;¤¤¤t¤?¤
        i
        ‘
                                                             Cur=rently‘she.1s;livmg[Jt;1·a.4=
                                                                                                                                                                                   which it has become mcreasmgly difiicult
                                                                                                                                                                    `_er?s       wellbeing has become a priority so I am
                                                             f¤r hpf to get afeimdk                                                                             _




                                                             consideringrelocating with-her nr                                               ontcI,a1r5New Jersey.
            .




                                                                                                                       V                                                                                                                  ‘
                                                                                                                                                                                                                                                                                          ‘




                                    ‘
                                                                                                                                                                                                                                              Thank you
                                                                                                                                                                                 _                                                                                                                                A




                                                                                                                                                       ·                                                                                       Jahi Smith
                                        ·




                                                                                                                                                                                                                                                                                                                      I
                                                                  Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 11 of 16
                                                                                                                                                                       ‘
                                                                   Q’
                    .
                        .
                                                            tgt             I
                                                                                                                          ,
                                                                                                                                                                                                                                       ,


        .
                                                                                                                                                                                                                           ·


                                                                                                                                                                                                                                                                           I
                                                                                                                                                  I
                                                                        l
                                                '
                                                                                          -
                            I                                _
                                                                                                            ·


                                                                                                                                                                                                                               1

                                        ·

                                                        Jah Jah        Bey                                                                   Social Security   Number-5203
                                                        POB 47 1213                                                                               ·
                                                                                                                                                                                                                                                                   ·


                                                                                                                                                                                                                                                                                       '



                                ·
                                                        District Heights,                     MD 20753                                                -
                                                                                                                                                                                                                                                               ‘




            -                                                                                                   'I`ransUnion Consumer Reporting Agency


                                                                                                                                       PO Box 6790
                                                                                                                                                                                                           '


                                                                                                                                Fullerton,    CA 92834                                                                                                             ,




                                                                                                                                                                                                                                                                           l

                                                                                 I




                                                                                                   *Please send               all   corresponding communications           to:                 .
                                                                                                                                                                                                   ·                                                                   .




                                                                                                                                                                                                               A



                                                                                              Jah Jah Bey P.O. BOX 471213                       District Heights,     MD 20753                                                                         .




                                                            10-IS-2013


                                                                                                                                                                                                                                                                                   l
                                                                                               l    l                                                                                                  I

                                                                                     '    ‘

                                                            Greetings,

A

                                                                                                                                                                                                                                               "



    .                                                       This letter          is      from Jah Jah Bey.            I   am        writing to have the item listed   below removed from my
                                                            credit report that is being incorrectly reported. This is Notice that                                 I   dispute all items listed
                                                            below, and               ask that you as a             Consumer Reporting Agency, consider all                 the   NEW details
                                                            provided in connection to the nature of my dispute.
                                                                                                                                                                                                                                   ·



        _




                                                                                                        i




                                _
                                                            The Items are:

                                                            #1 Fair Collections                    & Outsourcing (FCO) Unlawful Credit Reporting of Account #

                                                            -l·do not           owe any debts on the above mentioned account, and the debt amounts being reported
                                                            are incorrect. ln your investigation, be sure to request that FCO provide the following
                                                            infomation on the debt; (I) a copy ofthe original lease contract that I (formerly known as Jahi
                                                            Smith) signed with. Riverstone Residential Group to reside at Chelsea West Apartments, (2)                                                                                                                                     _




                                    _               _
                                                            verification and explanation ofthe following outstanding debts (See attached ledger):                                                                                                          _




                                                                                                                                                                                                                                                                               l




                                                             I.  December 2009, I was charged SIO.32 (See attachment *4 minus #5) for December I,
                                                                  ln

                                                            2009 concession. I did not reside at Chelsea West during the month of December 2009, and                                                               ,
                                                                                                                                                                                                                                           _




                                                            was not liable for December 2009 concession. This fee is in not accurate. In your investigation,
                                            I


                .                                            be sure to request that FCO provide someone with personal knowledge that can verify this debt
                                                             amount, and also request any document that can establish this debt amount. By document, I

                        _
                                                             mean a document that specifically authorizes the charge for December 2009 concession, even
                                                             though I didn’t reside _at Chelsea West in December 2009.                                            _
                                                                                                                                                                       .          .




                                                                                                                                                                                                                                                   ·




                                                        _
                                                             2.According to the attached ledger, I was charged $200.00 for up front concession                                                                         I


                                                             reimbursement (See attachment *6). This fee is in not accurate. In your investigation, be sure
                                                            Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 12 of 16




                                                    to request that FCO provide someone withpersonal knowledge that can verify this debt
                                                    amount, and also request any document that can establish this debt amount. By document,                                      l
                                                '

                                .                   mean    a   document that specifically authorizes the charge                         for   up front concession.


                                                    3.   According to the ledger,     l   was charged $495.00 for insufficient notice (See attachment *7). 1                         l

                                            ·
                                                    gave sufficient notice, and this fee          is in   not accurate. ln your investigation, be sure to request
                                                                                                                                                                                                                     °

                                                    that   FCO provide someone with personal knowledge that can verify this debt amount, and also
        `
                                                    request any     document that can       establish this debt amount.                       By document, l mean a document
                                                    that specifically authorizes the charge for insufficient notice,even though l gave sufficient
                                        '

                                                    notice (See Exhibit 2       September 2 ,2009 notice for November 31,2009 departure—60 day
                        ·

                                                                                                  I                                                                                                                          .



                                                    notice   was   required).


                                                    4.    According to the ledger,  l was charged $145.00 forgas, water, and sewer (See attachment

                                                    *‘8,*9,&* l 0) for      December 2009. l did not reside at Chelsea West Apartments in December
                    _
                                                    2009, and therefore wasn’t liable to such charges. 'Ihis fee                              is in       notaccurate. ln your
                                                    investigation, be sure to request that            FCO provide someone with personal knowledge that can
                                                    verify this debt amount,       and also request any document that can establish this debt amount. By
                                    ·
                                                    document,       l   mean a document that specifically authorizes the charge for December 2009
                                                    utilities,   even though l didn’t reside at Chelsea West                        in   December 2009._            _




_

    .                                               5. According to the ledger, 1 was charged $ l ,280.00 for re-occuring concession reimbursement                                                                   {           A

                                                                       *
                                                    (See attachment l l). l gave sufficient notice, and wasn’t subject to a re-occuring concession                                                   -




                                                    fee. This fee is in not accurate. ln your investigat_ion, be sure to request that FCO provide

                                                    someone with personal knowledge that can verify this debt amount, and also request any
                                                                                                                                                                                             `




                4
                                                    documentthat can establish this debt amount. By document, l mean a document that
                                                    specifically authorizes the charge for a re-occuring concession reimbursement even though a
                                                     gave sufficient notice.                                                              _




                                                                                                                                                                                         ‘


                                                     6. According to the ledger, l was charged $6l .94 (See attachment *2 minus *3) for one day’s                                                                _




                                                     rent on December l, 2009. l did not reside at Chelsea West during December 2009, and was                                                    ·




                                                     not liable for rent in     December 2009. This           fee   is in       not accurate. ln your investigation, be sure                                 ·




                                                     to request that      FCO provide someone with personal knowledge that can verify this debt
                                                     amount, and also request any document that can establish this debt amount. By document, l
                                                     mean a document that specifically authorizes the charge for December 2009 rent, even though
                                                     l   didn’t reside at Chelsea    West in December 2009.                 4                                   _




                                                I
                                                     7.   The total amount being reported by FCO is $5,579.00. This sum is incorrect, and is also
                                                     inconsistent with the sum total of the attached ledger (See attachment *Mr. Bey4 which lists a
                                                     debt amount of $5,878.72). ln order for FCO to verify the amount being reported, Foo would
                            `

                                                     by default have to verify the fees and charges listed above (the fees and charges listed above
                                                     were added together to equal the debt amount being reported by FCO). ln your investigation,
            ·
                                                     be sure to request that FCO provide someone with personal knowledge that can verify this debt                                           ·




                                                     amount, and also request any document that can establish this debt amount.

                                                                                                                                                                                                                         A
                                                                                                                                                                                                         '

                                                    Sincerely,                                                                  .



                                                                                                                                                      `

                                                    Jah Jah     Bey                           _
                                                 Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 13 of 16

        .
                        O           ·
                                                                                                        ·




                                                                                                                                                                              I                           A

                                                                                                                                             ‘

                r
                —
                                                    .
                                                                     .;iN;i."
                                                                          ·
                                                                              vn;
                                                                                                                                    ·
                                                                                                                                     AI1meMac Home MOfig8g€
                                        ‘*··   "
                                        ;f":_·.i ts;-·
                                                    ·‘   ’
                                                              '
                                                                  wygkp
                                                                     `*=
                                                                                        ·

                                                                                            ·
                                                                                                                   .       2525 Augustine Herman Hwy, Suite E
_
                                _

                                                         °                                                                              Chesapeake City,    MD 21915
                _·              A nnle                                          ac                                     ·
                                                                                                                                                      `4l0.44l.3142

                            _   Qxmm
                                 NMLS
                                                                  Lgfugogmy
                                                              338923                _
                                                                                                               .
                                                                                                                                  www.danliorrell.annie-mae.com




                                            Dear Jah Jah Bey,



                                                    Thank you for inquiring abouta purchase of your new home. Unfortunately at
                                            this time we are not able to offer you financing. Even though your
                                                                                                               income and credit
            -
                                            score   is       perfect, there is a collection-account from Fair Collections that                    still   shows a
                                            balance pending.                                                                                                                      _




                                                             lf and       when you are able to              resolve this issue with Fair Collections,     we would be
                    `                                                                                                                                                 .

                                                         to extend financing for you.                                                                             _
                                                                                                                                                              _

                                            happy




    .
                                            Thank You,




                                             Daniel|                                            i




                                                                                                    1



                                             NMLS#                160526                                                                                                                              ·


                                             AnnieMac Home Mortgage
                                        _
                                             Mobile:              4438028363                                                                                              .




                                               Dclawiinc Chapter 22 Licensed Lender License (HO! l546), Maryland Mortgage Lender (#19406),
                                                                                                                                              American Neighborhood Mongagc
                                                           Company      licensed by tht: New Jersey Department of Banking, and Insurance (HNOOOOO-1875), Licensed by the
                                               Acceptance            ls
                                                                                                                            ~
                                               Pennsylvania Department of Banking as a Mortgage Lender (#33587).




                                                                                                                                                                                      .,1% aa
                                                                                                                                                                                      <‘*»¥a.·';,~"


                                                                                z
                                                                               Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 14 of 16




                                                          J,»*“""¤»,,¤                                   U.8.      DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT                                    ·




                                                                                   (3g
                                                               i       i


                                                                               "                 ·

                                                          E"                                                   ·
                                                                                                                                wasurnoron, oc   204lO-l000'
                                                                                   E             '
                                                                                                                                                                                                           '

                                         ‘
                                                           (1.**                                                                                                             -
                                                                                                                                                                                              _
    ,~           ,


                                                          Asstsnorr secasranv ron aousmo
                         ‘



                                                          rmraur. noustno cowtussiouex                                                                               _
                     r




                                                                                                                                                                                                                               `
                 i


i
                                                 Mortgagee Letter 2012-3, Continued                                                        ·                                      -




                                                          Handling of Disputed Accounts/Public Records (continued)
                                                                                                                                                                                                                ·




                                                  _




                                                          HUD 4I55.t                                     EHA does not require that collection            lf the total Outstanding balance of all
                                                                                                                                                                                                                           -

                                                          4.C.2.e
                                                                                         ’
                                                                                                         accounts be paid otfas a condition of          collection accounts is equal to or greater than
             '

                                                                                                         mortgage approval. However, court-             Sl,000 the borrower must resolve the
                                                                                                         orderedjudgments must be paid off before       accounts (e.g. entered into payment
                                                                                                         the mortgage loan is eligible for FHA           arrangements with       minimum three months                              '



                                                                                                             insurance endorsement.                      verified payments- paid as agreed) or paid in,
         `

                                                                                                         .                                               liill at the time of, or prior to closing. T
                                                                                                                                                                                                                    " ·'
                                                                                                                                                         Mortgagees must document the case binder
                                                                                                                                                         showing each account was resolved or paid
                                                                                                                                                         in full.                             _
                                                                                                                                                                                          '

                                                                                                                                                                                                                                       l




                                                                                                                                                         [fthe total outstanding balance ofall
                                                                                                                                                         collection accounts     is   less than $1,000, the
                                                                                                                                                    _

                                                                                                                                                         borrower is not required to pay off the
                                                                   ·
                                                                                                     _
                                                                                                                                                         collection accounts as a condition of
                                                                           ‘
                                                                                                                                                         mortgage approval.
                                                                   _




                                                                                             -                                                           FHA continues to require judgments to be
                                                                                                                                                         paid off before the mortgage loan            is eligible

                                                                                                                                                         for   FHA insurance}
                                                      V




                                                      i

                                                           * Exception: An exception to the payoff of a court-orderedjudgment may be made if the borrower has an
                                                           agreement  with the creditor to make regular and timely payments, and provides documentation indicating
                                             _



                                                           that a minimum of three months payments have been made according to the agreement.
                                                                                                                                                 The monthly                                                    .



                                 ·

                                                           payment must be included                                 in the borrower's debt—to-income ratio.



                                                            Examples ofacceptable documentation to support the resolution of disputed accounts or the payoff of
                                                                                                                                                            or verifying
                                                            accounts would be a letter from the creditor outlining the terms of the payment arrangements,
                                                            payoff of debt, cancelled check(s), or a supplement to the credit report verifying payoff or payment                                                                           .

                             _
                                                                                                                                                                ‘

                                     .                      ammgements.

                                                                                              oni dlsputed accounts and collections to reduce the singular or
                                                            Note: Paying “down" of bulunces
                                                            cumulutlve balance to below $1,000, is not on acceptable resolution of accounts.

                                                                                                                                                                                                                    -



                                                                                                         `

                                                                                                                                                                                       Continued on next page
                                  Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 15 of 16


         ·
     _                            Case 8:13-cv—00279-PWG Document 40-6                                                              Filed 10/07/13              Page 3       of   4


                                                                                                                                          I-




                                                                                                                                                       '

                                                                                             14253290734                        :                          # 13/ '9




                 12/1/2009     nan: (12/1009)                                                               ·.
                                                                                                                      1,920.00        $,955,00       76721Q                           -
                                                                                                                                                                                          ‘


                                                                                                                                                                         _
                 i2/1/1009     Rnimbunsd Trn|I1 (12./2009)     .   .       ._
                                                                                                                                                 g
                 12/1j2009     una
                                                                            ¤=
                 nz/1/zooo     .s•¤¤1ry Dcpciit cmcit
                               nm      xznooo) cmu; an
                                                                                                                                      1,497.90
                 12/1/2009     Relmburscd Trash (12/2009 Cmdlr 30 days
                                                                                                                          (19.351     1,478.55
                 nz/umm        Gnrncc n·¤w(1w¤0•>)c&vcr¤J¤ days                                                                                                                                        1




                 12/1/HDD      Loan Tim C¤nc¤u1¤¤(12/1009) Crum 30 da                    •                            .   309,5a
                                                                                               _




                 12/1/1009     Uptmm Ccncuslon Ruimhusamcnz                         ·
                                                                                                       ·*                 200.00
                                                                                                                                                 2   EEE
                                                                                                                                      1,906.23
                 12/1/2009     n.¤-¤¤:¤nnq Cnneesrori    aunnummnx                             _                      1,1110.00
                 12/1/2009
                 12/1/2009
                 12,/1121:09
                               Damages (holes
                               rnewncnm n¤u¤•
                               uumuumu cas
                                                 In   manu bedroom wall).

                                                                                    ..
                                                                                         .



                                                                                         .
                                                                                                   _
                                                                                                       ·
                                                                                                           _     .@
                                                                                                                 °


                                                                                                                           72.so
                                                                                                                                      5,733.71   |mms                                         _




                                                                                              v
                               Ralmburcd sewn
                                                                                                                                      5,878.72
                 me/zoos       mag Gan wmow           www 21 7c1z1s um wm om- mm
                                                      mcnqa zuvuwc »•¤¤~n•¤zwm• om-

                                             wmon mango zuvucm                   mm-¤•m   wm
                                       cm wmon manga zmoooz
                                                                                                                     (llgzmm)
                                       Gan wnmow mmrygs zxamsu:1

                                             wmon mem; zxlayoocq|

                     /2009
                                       can   wnmon hr zngo   znnvusus raon-nqnzlvygm om.
                               1:;;;

                                       c•¤   wnnon wrcnge

                                       cm wrueon rorchqs zmmsm u¤»-rum www on
                                       cen   wmon rw                                      wmaom-
Y



                                       Gun   wmcm mms zmosvs mn-nmwme om-


             ‘
I                                                                      `




11




                                                                                                                                                 I/118/2010

                                                                                                                                                                                                   I



                                                                                                                                                                                                  .!
                                        Case 1:14-cv-00097-ABJ Document 1-2 Filed 01/24/14 Page 16 of 16


                                        Case 8:13-cv-00279-PWG Document 40-6
                                                                         ·_
                                                                                                 Filed 10/07-/13                Page40f4
                                             _'

             x




                  01-18-10:12:29         ;                              14253290734


                                                                                                                 "‘
                                                                 om summomi
                                                               mm-cmmwnn                                         M

                                                                Eg
                                                                                                            Pm

ez
         I



                 com-   .   KHEKQ
                                                          mm    1.w.w            .     umm           12:uuz¤¤¤

                 my         $¤i|¤r¤.M¤   mae                                           mm            nomuzoco




                                                                                                                 I1
                                                                                                                 Illmml
                                                                                                                  www
     E
                  wwwa        Gm| num moon;
                                                                                                                 IIXHHIII
     i           IEIEZZK                                                                               amou I         www
     !           IEIIEEK                                                                                         I warm              ·




     ‘


                 IHBEEK       ¤·¤····¤·¤·~•¤•···•¤···   |-·                                                      IEIHHII
                                                                                                                 I zwuom
                                                                                                       umo       I zumw
                 gmyggzi
                              nm|                              |··            1ZEHJI_]SJ[II
                                                                                ww
                                                                                                                      ¤*¤7¤6¤¤

                 IEHEZEH
                              GI    ·   Rcmnl                                                                    I    2”7°‘°‘            r

                                                                                                                      zmow                   ·



·1                                                                                                                    mvmao
                                                                               simon
                               ¤-                                                                      szmzn
                                                                                                                      zvnvm      »



                 IZEEEZ        ¤•»··¤¤¤¤¤•·                                     vw                                    zmooov
                                                                                                                 I    mvcwn

                                                                                       Amsunrbvodz
